Case 1:19-cv-10203-IT Document 52-5 Filed 07/31/19 Page 1of3

Exhibit E

Case 1:19-cv-10203-IT Document 52-5 Filed 07/31/19 Page 2 of 3

June 11, 2018

Sonya Larson
89 Concord Ave #1

Somerville, MA 02143
Dear Ms. Larson,

We are pleased to inform you of our decision to publish your piece The Kindest {the “Work”) as
the feature partion of Boston Book Festival, inc.’s (“BBF”) 2018 One City One Story program. in
consideration of the mutual covenants and obligations set for herein, we mutually agree to the following
terms:

+ — Grantof Rights. You grant to BBF, during the full term of copyright in the Work, the right to
publish the Work in any language in not more than 30,000 printed copies of One City, One Story, and the
right to publish and distribute for download at www. bostonbookfest.org, electronic versions of the
Work in any language. You-furtheragreethattheWoe hall-net-be-pubtishedardistributed-byye

2, Delivery. You agree to agree to deliver the final manuscript of the Work, in a form acceptable to
the BBF, no later than Thursday, June 14, 2018.

3. Consideration. You acknowledge that you have declined the BBF’s offer to provide financial
compensation in exchange for the rights granted by you herein, You make such grant in consideration
of the BBF’s providing to you the opportunity to contribute to the goals of the BBF and to participate in
the One City One Story program.

4. Credit. You shall be appropriately credited as the author and copyright holder in each published
copy of the Work.
5. Copyright. BBF acknowledges that you reserve all rights in the Work, including copyright, not

expressly granted herein.

6. Warranty and Representation. You represent and warrant that you have the right to enter into .
this Agreement and make the grants of rights contained herein, that the use of the Work, as
contemplated herein, shall not infringe any copyright, trademark, or other right of any person or entity,
that the Work shall not violate any right of privacy or publicity, and that no payments to any other
person or entity shall be required in connection with the use and exploitation of the Work.

7. indemnity. You agree to indemnify and hold BBF, its partners, employees, agents, affiliates,
designees, and assigns, harmless from any loss, damage, liability, and expenses {including reasonable

Case 1:19-cv-10203-IT Document 52-5 Filed 07/31/19 Page 3 of 3

attorneys’ fees) that result from any actual or alleged breach by you of the above warranties, covenants,
or agreements.

8. Governing Law. This Agreement shall be governed by and construed in accordance with the .
laws of the Commonwealth.of Massachusetts applicable to contracts entered into and fully performed
therein. Any legal proceedings brought to resolve any dispute arising out of this Agreement shall be
commenced in the appropriate Suffolk County court or the United States District Court for the District of
Massachusetts. No action or proceeding brought pursuant to this Agreement shall be commenced or
maintained outside of Suffolk County. Regardless of the parties’ respective domicile or residence, the
parties hereby submit to the exercise of personal jurisdiction over them by the Suffolk County courts or
the United States District Court for the District of Massachusetts,

9. Counterparts. This Agreement may be executed in one or more counterparts which when taken
together shali constitute once and the same instrument.

10. Entire Agreement. This Agreement shall constitute the entire and binding agreement between
the parties hereto and their respective heirs, successors or assigns. This Agreement merges and
supersedes all prior and contemporaneous understandings and agreements (whether written or oral)
between the parties regarding the subject matter hereof and may only be amended or modified by a
subsequent written agreement signed by all parties.

We are most grateful for your participation in this project! Piease confirm your agreement to
these terms by signing and dating two copies of this letter agreement and returning one fully-executed
copy to us.

Sincerely,

Boston Book Festival, Inc/

By: pb R=

Deborah Z Porter, its President

ACCEPTED AND AGREED TO:

By:

Sonya Larson, an individual

Date:

